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A t t or ne y for Pe t it io ne r



                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO



 JOSHUA LEE McGIBONEY
                                                 Case No. 1:16-cv-150-REB
                          Petitioner,

                                                 MOTION FOR RELIEF FROM
      v.
                                                 JUDGMENT
 KEITH YORDY, Warden of the Idaho
 State Correctional Institution,


                          Respondent.


        COMES NOW the Petitioner, Joshua McGiboney by and through counsel Craig

H. Durham, and moves this Court to vacate the judgment in this habeas matter, reopen

the case, and proceed to the merits of his habeas claims.

        This motion is brought under Rule 60(b)(6) of the Federal Rules of Civil

Procedure and is supported by a memorandum of law (Dkt. 47-1), the declaration of

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Joshua McGiboney (Dkt. 47-2), the declaration of Craig H. Durham (Dkt. 47-3), and

Exhibits A through N attached to those declarations.

      Submitted on this 16th day of October 2020.




                                        /s/Craig H. Durham
                                        Attorney for Josh McGiboney




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 16th day of October 2020, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or

counsel to be served by electronic means, as more fully reflected on the Notice of

Electronic Filing:

       Mark Olson
       mark.olson@ag.idaho.gov

       Attorney for the Respondent

                                         /s/Craig H. Durham




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